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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:07CR375
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )              TENTATIVE FINDINGS
                                            )
EDWIN GUEVARA-PINEDA,                       )
                                            )
             Defendant.                     )


      The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 61). The government adopted the PSR

(Filing No. 62). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      The Defendant objects to several paragraphs in the PSR. The objections are

discussed below.

¶¶ 16, 18 and 27 - U.S.S.G. § 2K2.1(b)(4)(A) - Stolen Firearm

      The Defendant objects to the underlying facts (¶¶ 16, 18) and the 2-level

enhancement (¶ 27) pursuant to U.S.S.G. § 2K2.1(b)(4)(A) for a stolen firearm. The

government bears the burden of proof by a preponderance of the evidence regarding

whether the firearm was stolen. This issue will be heard at sentencing.

      The Defendant’s argument that the Defendant must have known that the firearm

was stolen for the enhancement to apply is without merit. Commentary to § 2K2.1(b)(4)(A)

provides that the enhancement applies “regardless of whether the defendant knew or had

reason to believe that the firearm was stolen.” U.S.S.G. § 2K2.1 cmt. n. 8(B).
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¶ 40 - Prior Offense

       The Defendant objects “to the facts as alleged in this paragraph in total.” (Filing No.

61.) The Court cannot address the objection without further details. If the Defendant

objects to the fact of the conviction, the government bears the burden of proving the

offense. If, however, the Defendant objects to the application of the sentencing guidelines,

the Defendant bears the burden. The standard in either case is by a preponderance of the

evidence. This issue will be heard at sentencing.

¶¶ 55-57 - Defendant’s Immigration Status

       Paragraphs 55-57 detail information regarding the Defendant’s immigration status

in the United States. The Defendant was found guilty after a jury trial of Counts III and IV,

which both charged him with being an illegal alien in possession of a firearm. In the

objection, the Defendant argues that “insufficient evidence was adduced at trial to support

a finding beyond a reasonable doubt” that he is illegally in the United States. The

Defendant may not relitigate an element of the offense at sentencing, and otherwise the

information in ¶¶ 55-57 does not affect the sentencing guideline calculation. Therefore,

the objections to ¶¶ 55-57 are denied.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 61) are denied with respect to ¶¶ 55-57, and the knowledge issue raised with respect

to ¶¶ 16, 18 and 27;

       2.     The Defendant’s objections to the stolen nature of the firearm raised with

respect to ¶¶ 16, 18 and 27, as well as ¶ 40, will be heard at sentencing;



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       3.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 17th day of March, 2008.

                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           United States District Judge




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